           Case 2:09-cr-00500-KJM Document 12 Filed 12/10/09 Page 1 of 2


 1   DANIEL J. BRODERICK, Bar# 89424
     Federal Defender
 2   LEXI NEGIN, Bar# 250376
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone (916) 498-5700

 5   Attorney for Defendant
     DEANDRE LAMAR DOSTY
 6
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,   )
                                 )       CR.S-09-500-FCD
12                Plaintiff,     )
                                 )       STIPULATION AND ORDER TO
13           v.                  )       CONTINUE STATUS HEARING
                                 )
14   DEANDRE LAMAR DOSTY,        )       DATE: January 19, 2010
     RAE LEONARD YOUNG,          )       TIME: 10:00 a.m.
15                               )       JUDGE: Frank C. Damrell, Jr.
                  Defendants.    )
16                               )
     ___________________________ )
17
18      It is hereby stipulated and agreed to between the United States of
19   America through JASON HITT, Assistant U.S. Attorney, and defendants,
20   DEANDRE LAMAR DOSTY by and through his counsel, LEXI NEGIN, Assistant
21   Federal Defender, and RAE LEONARD YOUNG by and through his counsel,
22   WILLIAM E. BONHAM, that the status conference set for Monday, December
23   14, 2009, be continued to Tuesday, January 19, 2010, at 10:00 a.m.    The
24   reason for this continuance is to allow defense counsel additional time
25   to review discovery with the defendants, to examine possible defenses
26   and to continue investigating the facts of the case.
27      It is further stipulated that the time period from the date of this
28   stipulation, December 10, 2009, through and including the date of the
           Case 2:09-cr-00500-KJM Document 12 Filed 12/10/09 Page 2 of 2


 1   new status conference hearing, January 19, 2010, shall be excluded from
 2   computation of time within which the trial of this matter must be
 3   commenced under the Speedy Trial Act, pursuant to 18 U.S.C. §§ 3161
 4   (h)(7)(A)&(B)(iv)and Local Code T4 [reasonable time for defense counsel
 5   to prepare].
 6
 7   DATED: December 10, 2009       Respectfully submitted,
                                    DANIEL J. BRODERICK
 8                                  Federal Defender
 9                                  /s/ Lexi Negin
                                    LEXI NEGIN
10                                  Assistant Federal Defender
                                    Attorney for Defendant
11                                  DEANDRE LAMAR DOSTY
12
                                    /s/ Lexi Negin for
13                                  WILLIAM E. BONHAM
                                    Attorney for Defendant
14                                  RAE LEONARD YOUNG
15
16   DATED: December 10, 2009       BENJAMIN B. WAGNER
                                    United States Attorney
17
                                    /s/ Lexi Negin for
18                                  JASON HITT
                                    Assistant U.S. Attorney
19                                  Attorney for Plaintiff
20
                                    O R D E R
21
22
        IT IS SO ORDERED.    Time is excluded from today’s date through and
23
     including January 19, 2010, in the interests of justice pursuant to 18
24
     U.S.C. §3161(h)(7)(A)&(B)(iv) [reasonable time to prepare] and Local
25
     Code T4.
26
     DATED: December 10, 2009.
27
                                             _______________________________________
28                                           FRANK C. DAMRELL, JR.
                                             UNITED STATES DISTRICT JUDGE

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